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Galaxy Nexus Android Smartphone Ea

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Print This

Type Verizon
Py clo) ian ar=(ei(0) g ae eee, a
Form Factor Bar, Touchscreen

Product
Dimensions 5.33” x 2.67" x 0.37"
(inches)

5.1 ounces

Weight (ounces) x

Color Metallic Silver

Battery, Standby _ 150 hours (6.25 days)

Battery, Talk Time

(hours) Up to 12 hours

Battery Type and

3.7 Volt, Lithium lon, 1850mAh

Size

A (3 a0) g ae

Frequencies and .

Data T CDMA/PCS/1xEVDO Rev. A: 800/1900 MHz,LTE: 700 MHz
Data Speed LTE, EVDO Rev. A

Macon

Platform Android™ 4.0, lce Cream Sandwich

Processor Speed,
Type

1.2GHz Dual-Core Processor

Main Display
Resolution

1280x720 pixels

Main Display Size 4.65” Display

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Main Display

™ ;
Technology HD Super AMOLED™ contoured display

Features Widgets; Accelerometer; Supported Languages: Spanish, French

Camera

Resolution paME
Front-facing

Camera 1.3 MP
Resolution

piaieLcetics! Digital/Optical Zoom

Zoom

Features Auto Focus; Shot Modes, Action, Night, Sunset, Party, Single Motion Panorama; Editing Modes; Camcorder; HD Recording; HD Playback

Features Music Player; Compatible Music Files, WAV, MP3, AAC, AAC+, eAAC+, AMR-NB, AMR-WB, MIDI; Audio, Streaming; MP3/Music Tones

Features Video Player; Compatible Video Files, H.263, H.264, MPEG4, VC-1; Video, Streaming

Features Wallpapers, Animated

Features Email; Corporate Email; Picture Messaging; Text Messaging; Instant Messaging; Threaded / Chat-style Messages; Video Messaging;
Predictive Text

Features Bluetooth®; Bluetooth® Profiles, A2DP, AVCTP, AVRCP, GAVODP, HFP, HSP, OPP, PAN, PBAP, SPP ; Wi-Fi® ; Wi-Fi® Hotspot; HTML
Browser

Internal Memory 32GB

Features Speakerphone; Voicemail; Speech-to-Text; Text-to-Speech; Music ID; Picture Caller ID; Multitasking; Hearing Aid Compatible (HAC); TTY;

Airline Mode

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